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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESS{§§ENi

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WESTERN DIVISION

 

 

 

UNITED STATES OF AMERICA

VS. CR. NO. 05»20073-Ma

TIFFANY MAXWELL ,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

Before the court is defendant's June 22, 2005, motion
requesting continuance of the report date set June 24, 2005. The
continuance is necessary to allow for additional preparation in the
case.

The Court grants the motion and continues the trial date to
August l, 2005, at 9:30 a.m. With a report date of July 22, 2005,
at 2:00 p.m.

The period from July 15, 2005, through August 12, 2005, is
excluded under 18 ULS.C. § 3l6l(h}(8)(B)(iv) to allcmr defense
counsel additional time to prepare.

IT IS SO ORDERED this the 13‘( day of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 36 in
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US DISTRICT COURT

